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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                       )          CRIMINAL NO. 16-154 (KBJ)
                                                   )
                  v.                               )
                                                   )
    LUZ IRENE FAJARDO CAMPOS,                      )
                                                   )
                           Defendant.              )


                        JOINT NOTICE REGARDING SENTENCING

         The United States of America and Defendant Luz Irene Fajardo Campos respectfully

submit this notice regarding sentencing in this matter. The sentencing hearing was previously

scheduled for June 3, 2021. [Apr. 1, 2021 Minute Order]. On May 24, 2021, the Court vacated

the June 3, 2021 sentencing date and directed the parties to file a joint notice that contains a

proposed schedule for the submission of sentencing memoranda and three dates and times on

which they are available for a sentencing hearing. [May 24, 2021 Minute Order].

         Accordingly, the parties jointly propose the following deadline and dates. The parties are

available at any time on the proposed sentencing hearing dates.



         Deadline for Sentencing Memoranda 1:          July 1, 2021

         Sentencing Hearing Dates:                     July 22, 2021

                                                       July 23, 2021

                                                       July 26, 2021




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    The Government filed its memorandum in aid of sentencing on June 30, 2020. [Dkt. No. 121].
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Respectfully Submitted,

                                          ARTHUR G. WYATT, Chief
                                          Narcotic and Dangerous Drug Section
                                          Criminal Division
                                          United States Department of Justice

By:    /s/Robert Feitel                   By:        /s/Kaitlin J. Sahni      .
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF to the Defendant’s counsel
on record this 3rd day of June 2021.

                                                      /s/ Kaitlin J. Sahni       .
                                                    Kaitlin J. Sahni
                                                    Trial Attorney
                                                    Narcotic and Dangerous Drug Section
                                                    Criminal Division
                                                    Department of Justice




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